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4                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
5                                        AT TACOMA
6
7      COUNTRY MUTUAL INSURANCE
       COMPANY,
8                                                        CASE NO.
                                        Plaintiff (s),   3:20−cv−05337−RJB−TLF
9                            v.
                                                         MINUTE ORDER SETTING TRIAL
10                                                       AND PRETRIAL DATES
       EVERGREEN LANDING LLC,
11
12                                   Defendant (s).

13    FOUR DAYS BENCH TRIAL set for                                               August 16, 2021
                                                                                  at 09:30 AM
14
      Deadline for the FILING of any motion to join parties                       September 18, 2020
15    Disclosure of expert testimony under FRCP 26(a)(2)                          February 17, 2021
16    All motions related to discovery must be FILED by                           March 29, 2021
17    Discovery COMPLETED by                                                      April 19, 2021

18    All dispositive motions must be FILED by                                    May 18, 2021
      Motions in limine should be FILED by and NOTED on the                       July 19, 2021
19      motion calendar no later than the third Friday thereafter,
        but no later than the Friday before any scheduled
20      pretrial conference.
21    Agreed pretrial order LODGED with the court by                              July 30, 2021
22    Pretrial conference will be HELD on                                         August 6, 2021
          (COUNSEL SHALL REPORT TO COURTROOM A)                                   at 08:30 AM
23
      Trial briefs, proposed voir dire & jury instructions due * August 6, 2021
24          *JURY INSTRUCTIONS See Local Civil Rule LCR51. A Manual of Model Civil
25   Jury Instructions For the Ninth Circuit − Latest Edition should be used as the format for
26   proposed jury instructions. See www.wawd.uscourts.gov.

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1           PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW need not be
2    submitted unless specifically requested by the Judge.
3           If any of the dates identified in this Order or the Local Civil Rules fall on a
4    weekend or federal holiday, the act or event shall be performed on the next business day.
5    These are firm dates that can be changed only by order of the Court.
6           If this case is settled, please advise Tyler Campbell, Courtroom Deputy to Judge
7    Bryan, immediately at (253) 882−3822. If this case is not settled, it will go to trial on the
8    date set or as soon thereafter as the court is available.
9
10          DATED: July 7, 2020
11
12          The foregoing Minute Order entered by /s/ Tyler Campbell Deputy Clerk, BY
13   DIRECTION OF THE HONORABLE ROBERT J. BRYAN, UNITED
14   STATES DISTRICT JUDGE.
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